Case 1:04-cv-10981-PBS Document 1997-2 Filed 07/10/09 Page 1 of 2

EXHIBIT A
Case 1:04-cv-10981-PBS Document 1997-2 Filed 07/10/09 Page 2 of Bage | of 1

From: Cheffo, Mark S (NYC)

Sent: Monday, June 29, 2009 2:46 PM

To: ‘KennethFromson@lawampm.com'

Subject: Re: Neurontin/Bulger: RE-designations of Goldman & Meeger

Ken,

! am not going to be able to get back to you today on the testimony and don't want to hold you up. Thus, if you
need to file today, you should do so and we can then react (or not) once we have an opportunity to evaluate the
evidence. | am traveling today.

Mark

From: KennethFromson@lawampm.com

To: Cheffo, Mark S (NYC)

Sent: Mon Jun 29 14:07:29 2009

Subject: Neurontin/Bulger: RE-designations of Goldman & Meeger

Mark - Attached is the actual final work product for the revised designations re Meager and Goldman that were
referenced in my email to you this morning. Please let me know your position.

Kenneth B. Fromson, Esq.
Finkelstein & Partners, LLP
1279 Rte. 300, P.O. Box 1111
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